                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )          No. 3:12-00013
                                              )          JUDGE CAMPBELL
ANGELA WHITSON                                )

                                          ORDER

       Pending before the Court is the Defendant’s Motion To Amend Order (Docket No. 782).

Through the Motion, the Defendant points out that the Court’s Order (Docket No. 774) denying

her Motion For New Trial mistakenly stated that she was convicted of Counts Five and Seven.

       The Defendant was actually acquitted of Count Seven, and convicted of Count Five.

Accordingly, Defendant’s Motion To Amend Order (Docket No. 782) is GRANTED, and the

Court’s Order (Docket No. 774) is VACATED.

       It is so ORDERED.



                                                  _________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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